Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 1 of 25 PageID #: 206




                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,              )
                                            )
             Plaintiff,                     )
                                            )
      v.                                    )      C.A. No. 21-1592-LPS
                                            )
TVISION INSIGHTS, INC.,                     )
                                            )
             Defendant.                     )


 DEFENDANT TVISION INSIGHTS, INC.’S OPENING BRIEF IN SUPPORT OF ITS
                 MOTION TO DISMISS COMPLAINT




                                            John W. Shaw (No. 3362)
                                            Nathan R. Hoeschen (No. 6232)
                                            SHAW KELLER LLP
                                            I.M. Pei Building
OF COUNSEL:                                 1105 North Market Street, 12th Floor
Ajay S. Krishnan                            Wilmington, DE 19801
Julia L. Allen                              (302) 298-0700
Bailey W. Heaps                             jshaw@shawkeller.com
Reaghan E. Braun                            nhoeschen@shawkeller.com
KEKER, VAN NEST & PETERS LLP                Attorneys for Defendant
633 Battery Street
San Francisco, CA 94111-1809
(415) 391 5400

Dated: January 7, 2022
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 2 of 25 PageID #: 207



                                              TABLE OF CONTENTS

                                                                                                                                Page


I.     INTRODUCTION .............................................................................................................. 1

II.    NATURE AND STAGE OF PROCEEDINGS .................................................................. 2

III.   SUMMARY OF ARGUMENT .......................................................................................... 2

IV.    STATEMENT OF FACTS ................................................................................................. 2

V.     ARGUMENT ...................................................................................................................... 2

       A.        The claims of the ’120 patent fail under § 101. ...................................................... 3

                 1.         The ’120 patent claims fail Alice Step 1. .................................................... 4

                 2.         The ’120 patent claims fail Alice Step 2. .................................................... 8

                 3.         The Court need not separately analyze the patent’s other claims. ............ 11

       B.        The claims of the ’189 patent fail under § 101. .................................................... 12

                 1.         The ’189 patent claims fail Alice Step 1. .................................................. 13

                 2.         The ’189 patent claims fail Alice Step 2. .................................................. 15

                 3.         The Court need not separately analyze the patent’s other claims. ............ 17

       C.        Nielsen’s willfulness allegations should be dismissed. ........................................ 17

VI.    CONCLUSION ................................................................................................................. 19




                                                                 i
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 3 of 25 PageID #: 208




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Cases

Affinity Labs of Tex., LLC v. Amazon.com, Inc.,
    838 F.3d 1266 (Fed. Cir. 2016)........................................................................................7, 9, 16

Alice Corp. Pty. v. CLS Bank Int’l,
    573 U.S. 208 (2014) ......................................................................................................... passim

Apple, Inc. v. Ameranth, Inc.,
   842 F.3d 1229 (Fed. Cir. 2016)..................................................................................................4

APS Tech., Inc. v. Vertex Downhole, Inc.,
   C.A. No. 19-1166 (MN), 2020 WL 4346700 (D. Del. July 29, 2020) ....................................17

Baggage Airline Guest Svcs., Inc. v. Roadie, Inc.,
   351 F. Supp. 3d 753 (D. Del. Jan. 7, 2019) .............................................................................11

In re Bd. of Trustees of Leland Stanford Junior Univ.,
    991 F.3d 1245 (Fed. Cir. 2021)................................................................................................14

Bell Helicopter Textron Inc. v. Am. Eurocopter, LLC,
    729 F. Supp. 2d 789 (N.D. Tex. 2010) ....................................................................................18

Bos. Sci. Corp. v. Nevro Corp.,
   C.A. No. 16-1163-CFC, 2021 WL 4262668 (D. Del. Sept. 20, 2021) ....................................18

Brightedge Techs., Inc. v. Searchmetrics, GmbH,
   304 F. Supp. 3d 859 (N.D. Cal. 2018) ...............................................................................5, 7, 8

BSG Tech LLC v. Buyseasons, Inc.,
   899 F.3d 1281 (Fed. Cir. 2018)............................................................................................8, 11

Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n,
   776 F.3d 1343 (Fed. Cir. 2014)........................................................................................5, 6, 11

Control v. Digital Playground, Inc.,
   No. 12-CV-6781 (RJS), 2016 WL 5793745 (S.D.N.Y. Sept. 30, 2016) ...........................13, 14

Courtesy Prod., L.L.C. v. Hamilton Beach Brands, Inc.,
   73 F. Supp. 3d 435 (D. Del. 2014) ...........................................................................................18

Cronos Techs., LLC v. Expedia, Inc.,
   C.A. No. 13-1538-LPS, 2015 WL 5234040 (D. Del. Sept. 8, 2015) .......................................12




                                                                   ii
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 4 of 25 PageID #: 209




Digitech Image Techs., LLC v. Elecs. for Imaging, Inc.,
   758 F.3d 1344 (Fed. Cir. 2014)..................................................................................................5

Elec. Power Grp. LLC v. Alstom SA,
   830 F.3d 1350 (Fed. Cir. 2016)........................................................................................ passim

F45 Training Pty Ltd. v. Body Fit Training USA Inc.,
   C.A. No. 20-1194-LPS, 2021 WL 2779130 (D. Del. July 2, 2021) ..........................................5

FairWarning IP, LLC v. Iatric Sys., Inc.,
   839 F.3d 1089 (Fed. Cir. 2016)..................................................................................................6

In re Greenstein,
    778 F. App’x 935 (Fed. Cir. 2019) ............................................................................................9

HSM Portfolio LLC v. Fujitsu Ltd.,
  C.A. No. 11-770-RGA, 2012 WL 2580547 (D. Del. July 3, 2012) .........................................18

Idexx Lab’ys, Inc. v. Charles River Lab’ys, Inc.,
   C.A. No. 15-668-RGA, 2016 WL 3647971 (D. Del. July 7, 2016) .........................................11

iLife Techs., Inc. v. Nintendo of Am., Inc.,
    839 F. App’x 534 (Fed. Cir.), cert. denied, 142 S. Ct. 109 (2021) ..........................................14

Intellectual Ventures I LLC v. Capital One Fin. Corp.,
    850 F.3d 1332 (Fed. Cir. 2017)..................................................................................................7

Intellectual Ventures I LLC v. Erie Indem. Co.,
    850 F.3d 1315 (Fed. Cir. 2017), (4) ...........................................................................................6

Interval Licensing LLC v. AOL, Inc.,
    896 F.3d 1335 (Fed. Cir. 2018)..........................................................................................5, 7, 9

IPLearn–Focus, LLC v. Microsoft Corp.,
   2015 WL 4192092 (N.D. Cal. July 10, 2015) ..........................................................................13

Kaavo Inc. v. Amazon.com Inc.,
   323 F. Supp. 3d 630 (D. Del. 2018) ...........................................................................................7

Kyowa Hakka Bio, Co. v. Ajinomoto Co.,
   C.A. No. 17-313, 2018 WL 834583 (D. Del. Feb. 12, 2018) ..................................................18

Mayne Pharma Int’l PTY Ltd. v. Merck & Co.,
  C.A. No. 15-438-LPS-CJB, 2015 WL 7833206 (D. Del. Dec. 3, 2015) .................................18

Mortgage Grader, Inc. v. First Choice Loan Servs. Inc.,
  811 F.3d 1314 (Fed. Cir. 2016)............................................................................................9, 10




                                                                 iii
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 5 of 25 PageID #: 210




Neochloris, Inc. v. Emerson Process Mgmt. LLLP,
   140 F. Supp. 3d 763 (N.D. Ill. 2015) .................................................................................13, 14

NNCrystal US Corp. v. Nanosys, Inc.,
  C.A. No. 19-1307-RGA, 2020 WL 616307 (D. Del. Feb. 10, 2020) ......................................18

Parker v. Flook,
   437 U.S. 584 (1978) .................................................................................................................14

Priceplay.com, Inc. v. AOL Advert., Inc.,
   83 F. Supp. 3d 577 (D. Del. 2015), aff’d, 627 F. App’x 925 (Fed. Cir. 2016) ........................10

Realtime Data LLC v. Array Networks Inc.,
   C.A. No. 17-800-CFC, 2021 WL 1752045 (D. Del. May 4, 2021), adhered to
   sub nom. Realtime Data LLC, v. Array Networks Inc., et al., C.A. No. 17-800-
   CFC, 2021 WL 3726013 (D. Del. Aug. 23, 2021).....................................................................4

RecogniCorp, LLC v. Nintendo Co.,
   855 F.3d 1322 (Fed. Cir. 2017)..................................................................................................8

SAP Am., Inc. v. InvestPic, LLC,
   898 F.3d 1161 (Fed. Cir. 2018)..............................................................................................6, 7

Spherix Inc. v. Cisco Systems, Inc.,
   C.A. No. 14-393-SLR, 2015 WL 1517435 (D. Del. Mar. 31, 2015) .......................................17

Telebrands Corp. v. GMC Ware, Inc.,
   No. CV 15-03121-SJO(JCx), 2016 WL 6237914 (C.D. Cal. Apr. 5, 2016)............................18

The Nielsen Co. (US), LLC v. HyphaMetrics, Inc.,
   C.A. No. 21-01591-LPS (D. Del. filed Nov. 10, 2021) .............................................................2

In re TLI Commc’ns LLC Pat. Litig.,
    823 F.3d 607 (Fed. Cir. 2016)..............................................................................................8, 12

TPP Tech LLC v. Zebra Techs. Corp.,
   403 F. Supp. 3d 382 (D. Del. 2019) .........................................................................................14

Trading Techs. Int’l, Inc. v. IBG LLC,
   921 F.3d 1084 (Fed. Cir. 2019)..................................................................................................7

Transaction Sys., LLC v. Jack Henry & Associates, Inc.,
   76 F.Supp.3d 513 (D. Del. 2014) .............................................................................................14

Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC,
   874 F.3d 1329 (Fed. Cir. 2017)..................................................................................................9




                                                                   iv
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 6 of 25 PageID #: 211




Univ. of Fla. Rsch. Found., Inc. v. Gen. Elec. Co.,
   916 F.3d 1363 (Fed. Cir. 2019)................................................................................................15

WhitServe LLC v. Donuts Inc.,
   390 F. Supp. 3d 571 (D. Del. 2019), aff’d, 809 F. App’x 929 (Fed. Cir. 2020) ........................2

Wireless Media Innovations, LLC v. Maher Terminals, LLC,
   100 F. Supp. 3d 405 (D.N.J. 2015), aff’d, 636 F. App’x 1014 (Fed. Cir. 2016) .....................14

WiTricity Corp. v. Momentum Dynamics Corp.,
   No. C.A. 20-1671-MSG, 2021 WL 4426959 (D. Del. Sept. 27, 2021) .....................................7

Wolf v. Capstone Photography, Inc.,
   No. 2:13-CV-09573, 2014 WL 7639820 (C.D. Cal. Oct. 28, 2014)........................................14

Yu v. Apple Inc.,
   1 F.4th 1040 (Fed. Cir. 2021) ............................................................................................14, 15

ZapFraud, Inc. v. FireEye, Inc.,
   C.A. No. 19-1688-CFC, 2021 WL 1138021 (D. Del. Mar. 25, 2021) .....................................10

Zyrcuits IP LLC v. Acuity Brands, Inc.,
   C.A. No. 20-1306-CFC, 2021 WL 3287801 (D. Del. Aug. 2, 2021) ......................................11

Statutes

35 U.S.C. § 101 ...................................................................................................................... passim




                                                                     v
 Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 7 of 25 PageID #: 212




I.     INTRODUCTION

       Defendant TVision Insights, Inc. moves to dismiss both patents asserted by Plaintiff the

Nielsen Company (US), LLC as invalid under 35 U.S.C. § 101 for claiming abstract ideas. The

patents relate to using cameras or sensors in people’s homes (with their permission) to observe

them while they are watching TV, rather than relying on survey responses—that is, what Nielsen

terms “panel measurement technologies” (Compl. ¶ 9).

       First, U.S. Patent No. 9,302,120 (“the ’120 patent”) aims to gauge the efficacy of TV

commercials by taking two data sets—data from a “media content presentation device” (e.g., a

TV) and data from some other device (e.g., a computer)—and “determining an association”

between them. This purported invention of “determining an association” between two data sets

is so broad and abstract on its face—and so clearly amenable to being performed by a human

mind—that it presents a classic case of ineligible subject matter.

       Second, U.S. Patent No. 9,020,189 (“the ’189 patent”) recites methods and devices for

use in counting the number of people watching TV by using one camera to observe an object, a

second camera to observe a different object (outside the threshold distance of the first camera),

and then using those two inputs to count the number of people. The way the claim is written, the

resulting count can only be 0, 1, or 2. This sort of simplistic logic is abstract, and the claim’s

minimal technical overlay—of using one camera in one area and a different camera in a different

area—cannot save this claim from ineligibility.

       If the § 101 challenge does not result in dismissal, Nielsen’s claim for willful

infringement should be dismissed because it has pleaded no facts indicating that TVision had

knowledge of Nielsen’s patents before this suit was filed—a prerequisite for willfulness.

       TVision’s motion should be granted.




                                                  1
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 8 of 25 PageID #: 213




II.    NATURE AND STAGE OF PROCEEDINGS

       Nielsen filed this action on November 10, 2021, alleging direct infringement of claims 1-

2, 9, and 14-15 of the ’120 patent and claim 9 of the ’189 patent. D.I. 1 (“Compl.”) ¶¶ 58, 70.

III.   SUMMARY OF ARGUMENT

       The Complaint should be dismissed because neither patent-in-suit is directed to patent-

eligible subject matter. Moreover, Nielsen’s willfulness allegations should be dismissed because

it has not pleaded sufficient facts to render those allegations plausible.

IV.    STATEMENT OF FACTS

       Nielsen’s business involves measuring TV consumption; it alleges that the patents-in-suit

cover “panel measurement technologies,” which “allow for a true understanding of not just who

is consuming media, but when, why, where, and how much.” Compl. ¶¶ 7-9.

       TVision was founded in 2014. Compl., Ex. D. As “Americans rapidly change their

viewing habits” and “industry executives . . . criticize[] Nielsen’s methods as outdated,” Compl.,

Ex. G, TVision has become a “rising alternative[].” Compl., Ex. F. Though it too uses panels,

TVision is “unlike Nielsen in that [it] is creating a very different metric,” which focuses on

“whether people are paying attention.” Compl., Ex. D.

       This suit follows. On the same day Nielsen sued TVision, it also sued HyphaMetrics,

another “audience measurement company.” See D.I. 1, The Nielsen Co. (US), LLC v.

HyphaMetrics, Inc., C.A. No. 21-01591-LPS (D. Del. filed Nov. 10, 2021).

V.     ARGUMENT

       “It is well-settled that courts may determine patent eligibility under § 101 at the Rule

12(b)(6) stage.” WhitServe LLC v. Donuts Inc., 390 F. Supp. 3d 571, 575 (D. Del. 2019), aff’d,

809 F. App’x 929 (Fed. Cir. 2020). The two-stage framework set forth by the Supreme Court in




                                                  2
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 9 of 25 PageID #: 214




Alice governs the Court’s analysis. Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208, 217-18

(2014). Under that framework, a patent is directed at patent-ineligible subject matter where (1) it

is directed to a patent-ineligible concept, i.e., a law of nature, natural phenomenon, or abstract

idea, and (2) the particular elements of the claim, considered both individually and as an ordered

combination, lack an inventive concept sufficient to transform the nature of the claim into a

patent eligible application. Id.; see also Elec. Power Grp. LLC v. Alstom SA, 830 F.3d 1350,

1353 (Fed. Cir. 2016). Nielsen’s patents fail at both steps.

       A.      The claims of the ’120 patent fail under § 101.

       The ’120 patent states that it is directed to “methods and apparatus to monitor

advertisement exposure.” ’120 Patent at 1:16-17. Claim 1 states:


               1.      A method for monitoring media content, the method comprising:

       determining via a meter that a media content segment was presented at a media
       content presentation device;

       logging via an activity monitor different than the meter an occurrence of an
       activity on a computing device different than the content presentation device,
       wherein the computing device is not in communication with the media content
       presentation device;

       determining an association between the occurrence of the activity on the
       computing device and the presentation of the media content segment at the media
       content presentation device.


’120 Patent at 15:33-45. The ’120 patent’s dependent claims recite additional details. Claim 2,

for example, specifies that the activity undertaken on the computing device is “at least one of a

accessing a webpage, a software application, or a media storage device.” And claim 9 states that

the media content presentation device on which a meter looks for a media content segment is “at

least one of a television or a radio.” Claim 14, meanwhile, is an independent claim that recites a

system for undertaking the steps set forth in Claim 1. Claim 15 largely mirrors claim 2, but for

the system described in claim 14.



                                                  3
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 10 of 25 PageID #: 215




               1.      The ’120 patent claims fail Alice Step 1.

       The question at step one is whether the claims focus on a “specific means or method that

improves the relevant technology,” which may pass muster under § 101, or on a “result or effect

that itself is the abstract idea and merely invoke generic processes and machinery,” which

cannot. Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016) (cleaned up). Here,

the asserted claims of the ’120 patent fall squarely into the category of abstract ideas. They aim

to gauge advertising efficacy by tracking what one does on a computer after viewing a TV

commercial. See ’120 Patent 2:17-20 (“[E]xposure to information about the advertisements is

compared with information about the computer activity to locate and report relationships among

exposure to the advertisements and the computer activity.”); see also Compl. ¶ 29 (“The ’120

Patent is directed to, among other things, correlating presentation of media content on a media

content presentation device with activity on a different computing device.”). Specifically, the

claims are directed to the abstract idea of collecting data from one source (such as a TV) and

from a second, independent source (such as a computer) and looking for “an association”

between the first set of data and the second. See ’120 Patent, claim 1; see also id. at 2:48-49

(“the example household . . . includes the computer [and] the television”).

       It is well established that “collecting information” is an abstract idea—even when the

information is “limited to particular content,” such as “synchronized phasor measurements” from

a power grid. 1 That the ’120 patent is directed to collecting information from two different




1
  Elec. Power, 830 F.3d at 1353–54 (collecting cases); see also, e.g., Realtime Data LLC v. Array
Networks Inc., C.A. No. 17-800-CFC, 2021 WL 1752045, at *8 (D. Del. May 4, 2021), adhered
to sub nom. Realtime Data LLC, v. Array Networks Inc., et al., C.A. No. 17-800-CFC, 2021 WL
3726013 (D. Del. Aug. 23, 2021).



                                                 4
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 11 of 25 PageID #: 216




sources does not alter that conclusion. 2 And the ’120 patent’s final step of “determining an

association” is just another way of phrasing a routine process that courts have repeatedly ruled

abstract. See, e.g., Compl. ¶ 29 (“The ’120 Patent is directed to . . . correlating . . . .” (Emphasis

added.)). The Federal Circuit has, for example, treated “analyzing information” as abstract. 3 So

too similar concepts like “organizing information through . . . correlations” 4 and “recognizing

certain data within [a] collected data set.” 5 In short, the claims of the ’120 patent “are clearly

focused on the combination of [the aforementioned] abstract-idea processes” and thus directed to

an abstract idea. Elec. Power, 830 F.3d at 1352–54 (finding abstract a representative patent

claim that receiving multiple specific types of data from power grids, “analyzing events in real-

time from the plurality of data streams,” “displaying the event analysis results,” and “deriving a

composite indicator of reliability . . . from a combination of . . . real time measurements”).

        The steps of the ’120 patent claims are all “essentially mental processes within the

abstract-idea category.” Elec. Power, 830 F.3d at 1354. For example, a Nielsen employee could

observe what someone watches on television, check the TV watcher’s internet history, and look

to see if any of the recently visited websites are related to (that is, whether there is “an

association” with) the ads that came on the TV. Even before computers, the steps described by


2
  Elec. Power, 830 F.3d at 1351 (challenged “patents describe . . . collecting data from multiple
data sources”); see also Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1345 (Fed. Cir.
2018) (“[W]e have held that claims directed to a single display of information collected from
various sources are abstract.”).
3
  Elec. Power, 830 F.3d at 1353–54 (collecting cases); see also F45 Training Pty Ltd. v. Body Fit
Training USA Inc., C.A. No. 20-1194-LPS, 2021 WL 2779130, at *9 (D. Del. July 2, 2021)
(ruling that “collecting and analyzing information, displaying results, and storing data are all
abstract ideas, individually and in combination”).
4
  Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344, 1350–51 (Fed. Cir.
2014); see also Brightedge Techs., Inc. v. Searchmetrics, GmbH, 304 F. Supp. 3d 859, 877 (N.D.
Cal. 2018) (correlating).
5
  Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1347
(Fed. Cir. 2014).



                                                   5
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 12 of 25 PageID #: 217




the ’120 patent could have been performed by monitoring the commercials viewed by a

particular consumer and then reviewing the consumer’s checkbook for purchases made from, or

their phone records for calls made to, one of the recent advertisers. For that matter, the same

steps could have been undertaken even before TVs became ubiquitous by observing the print

advertisements that entered a home via the newspaper and crosschecking the list of advertisers

against a list of the stores the consumer visited to derive an association. Nor is the abstract idea

of collecting data sets from two different sources and looking for an association between them

limited to the field of assessing the efficacy of advertisements. A university could make a list of

classes attended, collect data on library books checked out, and analyze whether there was a

relationship between the two. Or a professional sports team might gather data on games attended

and, separately, merchandise sold to see if attendance boosts jersey or hat sales. The list goes on.

       The asserted claims thus reside in the “familiar class of claims” for collecting and

analyzing information that routinely fails Alice step one. Elec. Power, 830 F.3d at 1353. The

claims here are ineligible just like claims directed to similar information-analyzing ideas such as

(1) “selecting certain information, analyzing it using mathematical techniques, and reporting or

displaying the results of the analysis,” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167

(Fed. Cir. 2018), (2) “gathering and analyzing information of a specified content, then displaying

the results,” Elec. Power, 830 F.3d at 1354, (3) “organizing and accessing records through the

creation of an index-searchable database,” Intellectual Ventures I LLC v. Erie Indem. Co., 850

F.3d 1315, 1325-1327 (Fed. Cir. 2017), (4) “1) collecting data, 2) recognizing certain data within

the collected data set, and 3) storing that recognized data in a memory,” Content Extraction, 776

at 1347, (5) “collecting and analyzing information to detect misuse,” FairWarning IP, LLC v.

Iatric Sys., Inc., 839 F.3d 1089, 1095 (Fed. Cir. 2016), and (6) “customizing information and




                                                  6
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 13 of 25 PageID #: 218




presenting it to users based on particular characteristics,” Intellectual Ventures I LLC v. Capital

One Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017). And courts have repeatedly held abstract

patents that “reduce[] to considering a web user’s past online activity and subsequent purchasing

decisions.” 6

        None of the arguments occasionally accepted to render otherwise-abstract claims

compliant under Alice’s first step apply here. The claims’ focus on media content segments and

media content presentation devices does not save them from abstraction. “As many cases make

clear, even if a process of collecting and analyzing information is ‘limited to particular content’

or a particular ‘source,’ that limitation does not make the collection and analysis other than

abstract.” SAP, 898 F.3d at 1168 (quoting Elec. Power, 830 F.3d at 1353). Nor do the asserted

claims “improve the functioning of the computer, make it operate more efficiently, or solve any

technological problem.” Trading Techs. Int’l, Inc. v. IBG LLC, 921 F.3d 1084, 1093 (Fed. Cir.

2019). The claimed method steps are devoid of details on “how to engineer or program” any

underlying system and recite only “result-based” functional aspirations. Interval Licensing, 896

F.3d at 1345; Affinity Labs of Tex., LLC v. Amazon.com, Inc., 838 F.3d 1266, 1269-70 (Fed. Cir.

2016) (“The purely functional nature of the claim confirms that it is directed to an abstract idea .

. .”). Where, as here, the patent claims “identify no specific technological improvement,”

Plaintiff cannot escape the conclusion that its patent is directed to an abstract idea. WiTricity

Corp. v. Momentum Dynamics Corp., No. C.A. 20-1671-MSG, 2021 WL 4426959, at *10 (D.

Del. Sept. 27, 2021); see also Kaavo Inc. v. Amazon.com Inc., 323 F. Supp. 3d 630, 643 (D. Del.



6
 Brightedge, 304 F. Supp. 3d at 877 (citing FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d
1089, 1093-94 (Fed. Cir. 2016); Collarity, Inc. v. Google Inc., C.A. No. 11-1103-MPT, 2015 WL
7597413, at *8 (D. Del. Nov. 25, 2015); PUREPREDICTIVE, Inc. v. H20.AI, Inc., No. 17-CV-
03049-WHO, 2017 WL 3721480, at *5 (N.D. Cal. Aug. 29, 2017), aff’d sub nom.
Purepredictive, Inc. v. H2O.ai, Inc., 741 F. App’x 802 (Fed. Cir. 2018)).



                                                  7
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 14 of 25 PageID #: 219




2018). The asserted dependent claims (2, 9, 15) only further specify the type of information that

is collected. As Electric Power Group makes clear, specifying the type of information does not

change the analysis. 830 F.3d at 1353–54.

       In sum, the ’120 patent’s claims are abstract because they are directed to “improvements

to [Nielsen’s] business performance,” not “tangible improvement[s] to technology.” Brightedge,

304 F. Supp. 3d at 867. The only remaining question is whether the claims recite an inventive

concept that is “significantly more” than the abstract idea itself. They do not.

               2.      The ’120 patent claims fail Alice Step 2.

       The asserted claims of the ’120 patent do not recite any inventive concept that could

confer patent-eligibility on the abstract idea. “To save a patent at step two, an inventive concept

must be evident in the claims.” RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed.

Cir. 2017). The inventive concept must provide “significantly more” than the abstract idea itself.

BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1289-90 (Fed. Cir. 2018). Elements that are

“well-understood, routine, conventional,” or “purely functional” cannot confer patent-eligibility.

Alice, 573 U.S. 208, 225–26 (citation omitted); In re TLI Commc’ns LLC Pat. Litig., 823 F.3d

607, 611-12 (Fed. Cir. 2016).

       The asserted claims of the ’120 patent recite nothing more than a “[w]holly generic

computer implementation” with “purely functional” elements. Alice, 573 U.S. at 223-26; In re

TLI, 823 F.3d at 612. The claims include only generic items such as a “content presentation

device,” a “meter,” and an “activity monitor,” and a generic functional result of “determining an

association” between two sets of data, which cannot confer patent-eligibility. Alice, 573 U.S. at

226 (holding that claim elements such as “data processing system,” “communications

controller,” and “data storage unit” were “purely functional and generic” and failed to provide an




                                                 8
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 15 of 25 PageID #: 220




inventive concept); Elec. Power, 830 F.3d at 1355 (noting that claim requirement of “‘displaying

concurrent visualization’ of two or more types of information” was insufficient to confer patent

eligibility); Mortgage Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1324-25

(Fed. Cir. 2016) (invalidating claims reciting only “generic computer components such as an

‘interface,’ ‘network,’ and ‘database’”).

       The asserted claims also fail to specify how the claimed methods achieve the desired

results of collecting data and drawing an association. Instead, they use only “generic functional

language to achieve the[] purported solutions.” Two-Way Media Ltd. v. Comcast Cable

Commc’ns, LLC, 874 F.3d 1329, 1339 (Fed. Cir. 2017); Interval Licensing, 896 F.3d at 1345

(finding claims ineligible because they “simply demand[ed] the production of a desired result . . .

without any limitation on how to produce that result”); In re Greenstein, 778 F. App’x 935, 938

(Fed. Cir. 2019) (finding claims containing “functional, results-oriented limitations” ineligible

because they “d[id] not provide any concrete solution”). The claims state only open-ended,

aspirational functional goals that, somehow, through unspecified underlying hardware and

software, information is “determine[ed]” and “logg[ed]” and then an association is

“determine[ed].” ’120 Patent, claim 1. The claims offer no insight into how to determine that a

media content segment was played, how to log activity on a computing device, or how to

determine an association between what happens on the media content presentation device and the

computing device. See id. “At that level of generality, the claims do no more than describe a

desired function or outcome, without providing any limiting detail that confines the claim to a

particular solution to an identified problem.” Affinity, 838 F.3d at 1269.

       Nor do the claims in the ’120 patent improve the conventional technology they

incorporate. In fact, the asserted claims do not even purport to use a computer to perform the




                                                 9
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 16 of 25 PageID #: 221




critical step of “determining an association” between the activity monitor and the second meter.

Independent claim 1 is a method claim that permits the “determining” step to be performed by a

human mind; independent claim 14 requires the that the determining step be performed by a

“central facility,” which, again, could be anything, including a human mind. But because the

determining step is itself so generic and abstract—i.e., “determining an association”—there is no

concrete argument that the patent claim improves upon any existing computer functionality or

other technology.

       Nielsen attaches to its complaint a declaration from a purported expert, Virginia Lee

(Compl., Ex. B (“Lee Decl.”)), perhaps in an effort to manufacture a factual dispute regarding

the inventiveness of its idea. For at least three reasons, that gambit fails. First, and most

fundamentally, Nielsen’s complaint and declaration make plain that the supposed inventive

concept is merely a new application of a familiar abstract idea. ZapFraud, Inc. v. FireEye, Inc.,

C.A. No. 19-1688-CFC, 2021 WL 1138021, at *1 (D. Del. Mar. 25, 2021) (dismissal proper

where inventive concepts supposedly subject to a factual dispute were “nothing more [than]

applications of the claimed abstract idea”). Both the complaint and declaration focus on how

companies like Nielsen previously had to “draw[] inferences based on the timing of sales

volumes in relationship to the timing of advertising,” but that “focusing on individuals’ computer

activity . . . allows an interested party to gauge the effectiveness of an advertisement in terms of

consumer activity.” Lee Decl. ¶ 13; see also Compl. ¶¶ 35-36. In other words, the supposed

inventive concept is just changing the data sets being collected and analyzed. Collecting and

comparing data, even novel data Nielsen may not have formerly had access to, is not a sufficient

inventive concept. See, e.g., Priceplay.com, Inc. v. AOL Advert., Inc., 83 F. Supp. 3d 577, 582

(D. Del. 2015) (“Novelty . . . is not the issue when determining whether a claimed invention is




                                                 10
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 17 of 25 PageID #: 222




directed to patentable subject matter.”), aff’d, 627 F. App’x 925 (Fed. Cir. 2016); see also BSG

Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir. 2018) (concluding “a claimed

invention’s use of the ineligible concept to which it is directed cannot supply the inventive

concept”). As such, even if Nielsen’s allegations and declaration are credited, they do not create

a factual dispute about the inventiveness of the patent claims.

       Second, no inventive concept is captured in the claims of the patent; it is insufficient to

point to the specification or matters outside the patent altogether to find the inventive concept.

Baggage Airline Guest Svcs., Inc. v. Roadie, Inc., 351 F. Supp. 3d 753, 761 (D. Del. Jan. 7,

2019). Finally, to the extent Nielsen intends to claim any other inventive concept, the

allegations in Nielsen’s complaint and attached declaration are too conclusory to be credited.

See Zyrcuits IP LLC v. Acuity Brands, Inc., C.A. No. 20-1306-CFC, 2021 WL 3287801, at *5

(D. Del. Aug. 2, 2021) (“But Zyrcuits cannot artificially create a dispute of fact by making the

conclusory allegation that ‘claim 4 embodies an inventive concept’ . . . .”).

       The asserted claims thus fail Alice step two and are patent ineligible under § 101.

               3.      The Court need not separately analyze the patent’s other claims.

       “The Federal Circuit has held that the district court is not required to individually address

claims not asserted or identified by the non-moving party, so long as the court identifies a

representative claim and ‘all the claims are substantially similar and linked to the same abstract

idea.’” Idexx Lab’ys, Inc. v. Charles River Lab’ys, Inc., C.A. No. 15-668-RGA, 2016 WL

3647971, at *2 (D. Del. July 7, 2016) (quoting Content Extraction, 776 F.3d at 1348). Where, as

here, all of the patent’s claims “relate to the same abstract idea” and none of the other claims in

the patent “add one or more inventive concepts that would result in patent eligibility,” the Court




                                                 11
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 18 of 25 PageID #: 223




need only analyze the representative claim. Cronos Techs., LLC v. Expedia, Inc., C.A. No. 13-

1538-LPS, 2015 WL 5234040, at *2 (D. Del. Sept. 8, 2015).

       All claims of the ’120 patent are directed to the same abstract idea. The other

independent claims (14, 19, and 22) recite a system, an apparatus, and a machine readable

medium, respectively, for performing the steps set forth in the prior claims. Claims 2, 9, 10, 15,

20 simply identify the information collected. Claims 3, 4, 16, 21, 23 (all of which narrow the

relevant timeframe), 11 (comparing metadata), 12 (comparing codes), and 13 (comparing

images) merely specify the type of information to be analyzed. 7 Claims 5 and 18 require

displaying and storing the results of a comparison, which Electric Power Group indicates is

ineligible. 830 F.3d at 1353; see also In re TLI, 823 F.3d at 611 (patent claims directed to

“storing” data held to be abstract). And claims 6, 7, 8, 17, and 24 just add generic computer

functionality. Suffice it to say, all the remaining claims remain focused on collecting two sets of

data and finding an association between the sets. Claim 1 can therefore be analyzed as

representative.

       B.         The claims of the ’189 patent fail under § 101.

       The ’189 patent is directed to “methods and apparatus to monitor environments.” See

’189 Patent at 1:7-8. Nielsen alleges infringement of claim 9, which states:


       9.         An audience measurement device, comprising:

       a first data analyzer to execute a first recognition analysis on three-dimension data
       representative of a first object within a threshold distance from a three-
       dimensional sensor;


7
 See Elec. Power, 830 F.3d at 1355 (“More particularly, a large portion of the lengthy claims is
devoted to enumerating types of information and information sources available within the power-
grid environment. But merely selecting information, by content or source, for collection,
analysis, and display does nothing significant to differentiate a process from ordinary mental
processes, whose implicit exclusion from § 101 undergirds the information-based category of
abstract ideas.”).



                                                 12
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 19 of 25 PageID #: 224



       a second data analyzer to execute a second recognition analysis on two-
       dimensional data representative of a second object outside the threshold distance
       from the three-dimensional sensor; and

       a counter to combine a first detection of a first person provided by the first data
       analyzer and a second detection of a second person provided by the second data
       analyzer to generate a people count for an environment, wherein at least one of
       the first data analyzer, the second data analyzer or the counter is implemented via
       a logic circuit.


’189 Patent at 23:23-38. The patent’s other claims are similar. They include machine-readable

medium (claim 1) and method (claim 14) independent claims that are directed to identifying and

tracking people. Those two claims also have dependent claims (claims 8 and 21, respectively)

that include a counting limitation similar to the one in claim 9.

       Like the claims of the ’120 patent, the ’189 patent’s claims fail both steps of Alice.

               1.      The ’189 patent claims fail Alice Step 1.

       Claim 9 of the ’189 patent—the only claim that Nielsen specifically asserts is infringed—

is likewise directed to an abstract idea. As Nielsen admits, the patent relates to “capturing

images of the area in front of a television and analyzing those images to determine the number of

people present.” Compl. ¶ 15. Claim 9 is directed to (1) detecting an object within a threshold

range using a 3-D method; (2) detecting a different object outside a threshold range with a 2-D

method; and (3) counting the total number of people detected. See also id. ¶ 18. Notably, the

asserted claim does not describe how the claimed 2-D or 3-D methods work, nor does it explain

how to distinguish between an object and a person, or how the counting functionality works.

       Each of the claimed steps is abstract. Monitoring and observing for example, have

repeatedly been ruled abstract, 8 as has “evaluat[ing] and communicat[ing] the relative movement


8
 See, e.g., Control v. Digital Playground, Inc., No. 12-CV-6781 (RJS), 2016 WL 5793745, at *5
(S.D.N.Y. Sept. 30, 2016); Neochloris, Inc. v. Emerson Process Mgmt. LLLP, 140 F. Supp. 3d
763, 770 (N.D. Ill. 2015); IPLearn–Focus, LLC v. Microsoft Corp., 2015 WL 4192092, at *1




                                                 13
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 20 of 25 PageID #: 225




of a body,” iLife Techs., Inc. v. Nintendo of Am., Inc., 839 F. App’x 534, 536 (Fed. Cir.), cert.

denied, 142 S. Ct. 109 (2021). And insofar as the claim is directed to detecting people using

cameras, see, e.g., Compl. ¶ 21, taking two pictures and doing something with them has likewise

been held abstract. Yu v. Apple Inc., 1 F.4th 1040, 1044 (Fed. Cir. 2021) (finding abstract an

“improved digital camera” that uses two sensors to take separate images and then uses a “digital

image processor” to use one image to enhance the other); see also Wolf v. Capstone

Photography, Inc., No. 2:13-CV-09573, 2014 WL 7639820, at *11 (C.D. Cal. Oct. 28, 2014)

(patent that entailed, among other steps, taking photographs and using specific identifying details

to match photographs to participants was directed to an abstract idea). The final step—counting

or calculating—is a paradigmatic example of an abstract idea. 9

       Combining two abstract ideas—detecting and then counting—does not without more

render them non-abstract. Elec. Power, 830 F.3d at 1353–54. Moreover, here, it is generous to

suggest that the asserted claim even involves two abstract ideas, given that the cases lump

“observing” and “analyzing” data or “taking” and “classifying” photographs into a single

abstract idea. See, e.g., Control, 2016 WL 5793745, at *5 (citing Neochloris, 140 F. Supp. 3d at

770, and In re TLI Commc’ns LLC, 87 F. Supp. 3d 773, 785 (E.D. Va. 2015) aff'd, 823 F.3d 607

(Fed. Cir. 2016)).

       Just like the claims of the ’120 patent, the claims of the ’189 patent can be—and long

have been—practiced by human beings. Looking into a crowd and counting people is an age-old


(N.D. Cal. July 10, 2015); Transaction Sys., LLC v. Jack Henry & Associates, Inc., 76 F.Supp.3d
513, 516 (D. Del. 2014); Wireless Media Innovations, LLC v. Maher Terminals, LLC, 100 F.
Supp. 3d 405, 413–14 (D.N.J. 2015), aff’d, 636 F. App’x 1014 (Fed. Cir. 2016).
9
  See, e.g., Parker v. Flook, 437 U.S. 584, 595 (1978) (“[I]f a claim is directed essentially to a
method of calculating, using a mathematical formula, even if the solution is for a specific
purpose, the claimed method is nonstatutory.” (internal citation omitted)); In re Bd. of Trustees
of Leland Stanford Junior Univ., 991 F.3d 1245, 1250–51 (Fed. Cir. 2021); TPP Tech LLC v.
Zebra Techs. Corp., 403 F. Supp. 3d 382, 388 (D. Del. 2019).



                                                 14
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 21 of 25 PageID #: 226




practice. Humans regularly locate people, objects, or animals by two different methods—such as

looking right and then looking left—and then count what has been observed. Or take, as another

example, a birdwatcher wishing to count birds. The birdwatcher could first detect birds visible

with bare sight; then use binoculars to detect birds “outside the threshold distance” afforded by

bare sight; and then “combine” the two inputs to “generate a [bird] count.” ’189 Patent, Claim 9.

       Notably, the claimed apparatus does not “more accurately and more efficiently recognize

objects in an environment than previous recognition systems,” as the patent boasts (see ’189

Patent 4:26-30), because the claims do not require any such improved methodology. See Yu, 1

F.4th at 1044 (“[e]ven a specification full of technical details about a physical invention may

nonetheless conclude with claims that claim nothing more than the broad law or abstract idea

underlying the claims”) (quoting ChargePoint, Inc. v. Sema-Connect, Inc., 920 F.3d 759, 769

(Fed. Cir. 2019)). Instead, the claims merely require using one data analyzer in one area (“within

a threshold distance”) and a different data analyzer in a different area (“outside a threshold

distance”). Thus, the ’189 patent “seeks to automate ‘pen and paper methodologies’” and is a

“quintessential ‘do it on a computer’ patent” that the Federal Circuit has routinely held to be

“directed to abstract ideas.” Univ. of Fla. Rsch. Found., Inc. v. Gen. Elec. Co., 916 F.3d 1363,

1367 (Fed. Cir. 2019).

       The claims of the ’189 patent are thus directed to an abstract idea and fail at step one of

the Alice inquiry.

               2.        The ’189 patent claims fail Alice Step 2.

       There is no inventive concept evident in the claims of the ’189 patent. As set forth

above, the claims include only generic, functionally described technological implementation.

Alice, 134 S. Ct. at 2360. They do not set forth how objects or persons are to be detected by two-




                                                 15
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 22 of 25 PageID #: 227




or three-dimensional sensors, nor do they improve the conventional technology they incorporate.

Affinity, 838 F.3d at 1269; Simio, 983 F.3d at 1361. Indeed, the patent specification makes plain

that the patent claims seek to take advantage of “[r]ecent developments in the capture and

processing of three-dimensional data.” ’189 Patent 3:10-12. But the claims do not require such

improvements. And considering each claim as an “ordered combination” of elements also does

not help Nielsen here, either. Alice, 573 U.S. at 225. There is nothing inventive about the idea

of first detecting people and then counting them in that order.

       Nielsen’s complaint and the attached Lee Declaration assert that the patent claims:

       provide an improvement over the prior art by using three dimensional analysis in
       a distance range that is best suited to three dimensional analysis[ and] using two-
       dimensional analysis in a distance range that is most suited to two-dimensional
       analysis, and combining the results of the analysis into a people count.”

Compl. ¶ 26; Lee Decl. ¶ 22. This, however, puts a significant gloss on what the patent claims

actually say, which is just to use the three-dimensional sensor when objects are within a

threshold distance and a two-dimensional sensor when objects are outside the threshold. That

may or may not be using the two-dimensional sensor in the area “most suited” for two-

dimensional analysis and the same for the three-dimensional sensor. Moreover, the claims don’t

specify what the “threshold distance” is or describe how to compute it. Indeed, the patent

specification says that the threshold distance “may vary depending on a particular sensor . . . or a

particular processing technique.” ’189 Patent 3:39-45. Whatever the threshold distance is, the

patent simply requires using one camera on in one area and the other camera in another area—as

the Lee Declaration essentially admits. See Lee Decl. ¶ 18. There is no evidence—in the Lee

Declaration or elsewhere—that such a completely obvious set-up adds anything of significance.

       The ’189 patent thus fails at Alice step two as well.




                                                 16
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 23 of 25 PageID #: 228




                 3.      The Court need not separately analyze the patent’s other claims.

          Just as with the ’120 patent, the Court need not undertake a full analysis of each claim of

the ’189 patent, as claim 9 is representative. Claims 1-8 recite machine readable storage

mediums directed to detecting, tracking, and counting objects. Claim 9’s dependent claims (10-

13) specify additional steps for tracking persons who move across the monitored area; they are

still directed to detecting people. Claim 14 is an independent method claim that recites steps for

detecting and tracking a person as she moves. And dependent claims 15-21 merely specify the

way that tracking is to be done; claim 21, in particular, echoes claim 9, as it recites a method to

count the people being tracked. If claim 9 is directed to an abstract idea, so too are the other

claims.

          C.     Nielsen’s willfulness allegations should be dismissed. 10

          A plaintiff seeking to enhance its damages based on willful infringement “must plausibly

allege that the accused infringer deliberately or intentionally infringed a patent-in-suit after

obtaining knowledge of that patent and its infringement.” APS Tech., Inc. v. Vertex Downhole,

Inc., C.A. No. 19-1166 (MN), 2020 WL 4346700, at *4 (D. Del. July 29, 2020). Plaintiff must

therefore “adequately allege factual circumstances in which the patents-in-suit [are] called to the

attention of the defendant[].” Spherix Inc. v. Cisco Systems, Inc., C.A. No. 14-393-SLR, 2015

WL 1517435, at *2 (D. Del. Mar. 31, 2015) (cleaned up). Here, Nielsen has pleaded no facts

from which the Court could infer TVision’s pre-suit knowledge on Nielsen’s patents. Rather,

Nielsen alleges only that “[o]n information and belief, Defendant . . . had knowledge of the

[patents-in-suit] before the service date of the Complaint.” Compl. ¶¶ 66, 85. Alleging pre-suit




10
     Should the Court agree with TVision on § 101, it need not reach this argument.



                                                  17
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 24 of 25 PageID #: 229




knowledge on information and belief is not sufficient to overcome a motion to dismiss. 11 The

only fact Nielsen does allege is that the Nielsen and TVision websites use similar stock

photographs to show what it looks like when a family watches TV. Compl. ¶ 41. But all four

photos that Nielsen says “are the same in concept and design as (or even exact copies of)

photographs contained in Nielsen’s standard sales slide decks” (Compl. ¶ 41)— which simply

show what it looks like to watch TV—are stock photos readily accessible and purchasable on the

internet. 12 And using similar stock photos does not show knowledge of the Nielsen’s patents or

anything else relevant to willful infringement. Cf. Bos. Sci. Corp. v. Nevro Corp., C.A. No. 16-

1163-CFC, 2021 WL 4262668, at *1 (D. Del. Sept. 20, 2021) (“[E]nhanced damages awards

under § 284 are available only in ‘egregious cases’ of misconduct that involve more than typical

infringement.”).

       Nielsen’s claim for willfulness infringement should thus be dismissed with prejudice.



11
   Mayne Pharma Int’l PTY Ltd. v. Merck & Co., C.A. No. 15-438-LPS-CJB, 2015 WL 7833206,
at *5 (D. Del. Dec. 3, 2015), report and recommendation adopted, 2016 WL 9344010 (D. Del.
Jan. 21, 2016); Courtesy Prod., L.L.C. v. Hamilton Beach Brands, Inc., 73 F. Supp. 3d 435, 442
(D. Del. 2014) (“Courtesy has offered no factual information to establish ‘awareness’ or ‘full
knowledge’ of the patents-in-suit, sufficient to evidence pre-suit knowledge of the patents-in-
suit.”); HSM Portfolio LLC v. Fujitsu Ltd., C.A. No. 11-770-RGA, 2012 WL 2580547, at *2 (D.
Del. July 3, 2012) (“The factual support for the allegations of willfulness made in connection
with the patents-in-suit are insufficient. There are none.”); Telebrands Corp. v. GMC Ware, Inc.,
No. CV 15-03121-SJO(JCx), 2016 WL 6237914, at *8 (C.D. Cal. Apr. 5, 2016) (pleading
willfulness on information and belief is insufficient); Bell Helicopter Textron Inc. v. Am.
Eurocopter, LLC, 729 F. Supp. 2d 789, 800 (N.D. Tex. 2010) (same). See also NNCrystal US
Corp. v. Nanosys, Inc., C.A. No. 19-1307-RGA, 2020 WL 616307, at *4 (D. Del. Feb. 10, 2020)
(“Plaintiffs’ argument in support of the allegation of willfulness essentially is an argument that
all Plaintiffs have to do is allege willfulness and that is sufficient to state a claim. I do not
agree.”); Kyowa Hakka Bio, Co. v. Ajinomoto Co., C.A. No. 17-313, 2018 WL 834583, at *13
(D. Del. Feb. 12, 2018) (“Mere formulaic pleading of willful infringement will not survive a
Rule 12(b)(6) motion.”).
12
   See https://www.istockphoto.com/photo/rear-view-of-a-couple-relaxing-on-sofa-in-the-living-
room-and-watching-a-movie-on-tv-gm953425192-260257938 (photo of two people watching TV
used by both parties); https://www.stocksy.com/1266605/friends-laughing-together (three people
watching tv); https://stock.adobe.com/images/couple-sitting-on-sofa-watching-television-
together/170712688 (two people watching TV); https://www.istockphoto.com/photo/woman-
watching-tv-at-home-gm925104536-253872505 (one person watching TV).



                                                18
Case 1:21-cv-01592-CJB Document 12 Filed 01/07/22 Page 25 of 25 PageID #: 230




VI.     CONCLUSION

        For the foregoing reasons, all claims in the patents-in-suit should be found unpatentable

under § 101, and this action should be dismissed without leave to amend. Alternately, as to any

patent not held to be unpatentable under § 101, the Court should dismiss Nielsen’s willfulness

allegations for failure to state a claim.


                                                  Respectfully submitted,

                                                  /s/ Nathan R. Hoeschen
                                                  John W. Shaw (No. 3362)
                                                  Nathan R. Hoeschen (No. 6232)
 OF COUNSEL:                                      SHAW KELLER LLP
 Ajay S. Krishnan                                 I.M. Pei Building
 Julia L. Allen                                   1105 North Market Street, 12th Floor
 Bailey W. Heaps                                  Wilmington, DE 19801
 Reaghan E. Braun                                 (302) 298-0700
 KEKER, VAN NEST & PETERS LLP                     jshaw@shawkeller.com
 633 Battery Street                               nhoeschen@shawkeller.com
 San Francisco, CA 94111-1809                     Attorneys for Defendant
 (415) 391-5400

 Dated: January 7, 2022




                                                19
